      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 1 of 51



                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

                   CRIMINAL ACTION NO. 14-10363-RGS

                       UNITED STATES OF AMERICA

                                      v.

                GREGORY CONIGLIARO and SHARON CARTER

      MEMORANDUM AND ORDER ON DEFENDANTS’ MOTIONS
              FOR JUDGMENTS OF ACQUITTAL

                                June 7, 2019
STEARNS, D.J.

      Once a promising niche drug business, the now defunct New England

Compounding Center (NECC) willfully deviated from pharmaceutical

industry safety standards in a mad pursuit of profits. Scores died and

hundreds were injured when three contaminated batches of injectable

methylprednisolone acetate (MPA) triggered a national outbreak of fungal

meningitis.     In the third of the four federal jury trials that followed,

defendants Gregory Conigliaro and Sharon Carter were convicted of

conspiring to defraud the United States Food and Drug Administration

(FDA) by frustrating its regulatory oversight of NECC, in violation of 18

U.S.C. § 371.

      Both Conigliaro and Carter now move for a judgment of acquittal

pursuant to Fed. R. Crim. P. 29, arguing, inter alia, that because the FDA’s
      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 2 of 51



regulatory authority over compounding pharmacies was not clearly

established, their conspiracy convictions were legally impossible and

violated basic norms of due process. As I agree that defendants’ rights to fair

notice and due process were violated, their motions will be allowed.

                          FACTS AND OVERVIEW

      On December 16, 2014, a federal grand jury handed up an indictment

targeting fourteen former owners and employees of NECC.             What the

indictment lacks in precision it compensates for in length: 131 separate

criminal counts involving differing combinations of defendants are spread

over seventy-three pages. The unifying theory of the indictment is the

allegation that NECC came to be operated as a continuing criminal enterprise

as defined by the Racketeer Influenced and Corrupt Organizations Act

(RICO), in violation of 18 U.S.C. § 1961. In support of the theory, the

indictment sets out seventy-eight RICO predicate acts ranging from second-

degree murder to mail fraud. Confusing matters further, under the RICO

heading, the indictment sets out two distinct racketeering enterprises – one

centered on twenty-five predicate acts of second-degree murder connected

to the shipment of the three lots of fungal-contaminated MPA, 1 the other


      1Only Barry Cadden, NECC’s President, head pharmacist, and part
owner, and Glenn Chin, the supervising pharmacist in charge of one of the
two “clean rooms,” were alleged to have participated in the murder
                                      2
      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 3 of 51



more loosely centered on mail fraud and violations of the federal Food, Drug,

and Cosmetic Act (FDCA), 21 U.S.C. § 301 et seq.2 Bringing up the tail end

of the indictment, the majority owners of NECC, Carla and Doug Conigliaro 3

(who were not involved in the day-to-day operations of NECC) were charged

with criminal contempts of Bankruptcy Court orders freezing their assets,




racketeering enterprise. Each was separately tried in 2017 before a jury, and
after lengthy deliberations in both cases, were acquitted of the predicate acts
of second-degree murder.

      2 Cadden and Chin were both convicted for their participation in the
mail fraud enterprise, along with racketeering conspiracy and various
substantive mail fraud and FDCA counts. They are currently serving prison
sentences. Tried together with Carter and Conigliaro were Gene Svirsky, a
pharmacist who worked in NECC’s “clean rooms” (found guilty of mail fraud
racketeering and racketeering conspiracy); Christopher Leary, a clean room
pharmacist (acquitted of racketeering and racketeering conspiracy but
convicted of three counts of mail fraud and three counts of introducing
adulterated drugs into interstate commerce); and Alla Stepanets, a
pharmacist who also worked as a shipping clerk at NECC (acquitted of
racketeering and conspiracy but convicted on six misdemeanor counts of
violating the FDCA). Each has been sentenced. Another pharmacist, Joseph
Evanosky, was acquitted on all counts. Scott Connolly, a pharmacy
technician employed by NECC (at a time when he was unlicensed), pled
guilty to ten counts of mail fraud in exchange for the dismissal of
racketeering and racketeering conspiracy charges. Robert Ronzio, NECC’s
National Sales Manager, entered a cooperation agreement with the
government and pled guilty to the conspiracy count at issue here.

      Doug Conigliaro is defendant Greg Conigliaro’s brother. I will use the
      3

name Conigliaro to refer throughout this decision to Greg Conigliaro.

                                      3
      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 4 of 51



and with the illegal structuring of certain cash transactions involving their

personal bank accounts. 4

     The indictment charged three distinct conspiracies: a racketeering

conspiracy (Count 2), 5 a conspiracy to illicitly structure bank transactions

(Count 128), and finally – and most relevant here – a Klein conspiracy to

defraud (mislead) the United States, specifically the FDA, in violation of 18

U.S.C. § 371 (Count 3).6 The odyssey of Count 3 is worth recounting, if in

brief. In addition to Carter, Conigliaro, and Ronzio, 7 Cadden and Stepanets

were also named as Klein conspirators and were acquitted by their respective




     4  The court dismissed the contempt charges, and the Conigliaros pled
guilty to the structuring offenses.

     5  Count 2 limned a racketeering conspiracy centered on the
misrepresentations underlying the mail fraud allegations, in that the
conspirators were alleged to have falsely represented to customers – the
hospitals and clinics that purchased directly from NECC – that NECC’s
drugs were fully compliant with United States Pharmacopeia (USP)
standards 797 and 71, when in fact they were not, and that all of NECC’s
compounding pharmacists and technicians were licensed by and in good
standing with the Massachusetts Board of Pharmacy (MABOP), when one of
the pharmacy technicians – Scott Connolly – was not.

     6 This species of conspiracy takes its name from United States v. Klein,
247 F.2d 908, 916 (2d Cir. 1957).

     7Carter was acquitted of racketeering conspiracy, while Conigliaro was
charged only with the Klein conspiracy.

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      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 5 of 51



juries; Ronzio, as previously noted, pled guilty pursuant to a cooperation

agreement.8

      The core allegation is that Conigliaro, Carter, and their fellow

conspirators entered a corrupt agreement to defraud the FDA of its “right” to

have its affairs conducted “free from corruption, fraud, improper and undue

influence, dishonesty, unlawful impairment and obstruction.” Indictment,

Dkt #1, ¶ 77. The generic conspiracy statute, 18 U.S.C. § 371, in broad terms

criminalizes conspiracies “to commit any offense against the United States,

or to defraud the United States, or any agency thereof in any manner or for

any purpose.”    The “defraud clause” of § 371 has been interpreted to

encompass schemes that seek to “interfere with government functions.”

United States v. Goldberg, 105 F.3d 770, 773 (1st Cir. 1997); see also United

States v. Barker Steel Co., 985 F.2d 1123, 1128 (1st Cir. 1993) (“The objective

of the agreement is unlawful if it is for the purpose of impairing, obstructing

or defeating the lawful function of any department of Government.”).

      The government’s overarching theory was that the conspirators were

engaged in a concerted effort to hold out NECC as a more or less conventional

pharmacy regulated by the MABOP and Massachusetts law and regulations


      8Although Ronzio testified at the trial, he had very little to say about
Carter and Conigliaro, neither of whom he knew nor dealt with on a regular
basis.
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      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 6 of 51



which required that drugs be dispensed only on receipt of patient-specific

and doctor-authorized prescriptions, when in actuality NECC was operating

as a drug manufacturer producing compounded medications in bulk

quantities without valid prescriptions. If so, according to the government’s

theory, NECC would have been “subject to heightened regulatory oversight

by the FDA,” Indictment ¶ 78, likely averting a tragedy like the 2012 fungal

meningitis outbreak.

      Implicit in the government’s theory was the proposition that, as a

matter of law (if not as a matter of real world practice), only two distinct

entities crafted new drugs for the market: (1) the classic retail pharmacy (like

Walgreens or CVS), where a neighborhood pharmacist received a doctor’s

patient-specific prescription and then compounded the prescribed

ingredients to make the medication, and (2) industrial drug manufacturers

(like Merck or Pfizer) that created drugs in bulk and shipped them wholesale

to distributors. While state boards of pharmacy had supervisory jurisdiction

over the former, manufacturers fell into the exclusive regulatory purview of

the FDA.

      The indictment alleged three material written misrepresentations by

the alleged coconspirators to the FDA. The first, written in 2003 by Barry

Cadden, responded to an FDA inquiry with the assertion that NECC was not


                                       6
      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 7 of 51



bound by the FDA’s code of good manufacturing practices “since we [NECC]

are a compounding pharmacy, not a manufacturer.”              Indictment ¶ 89.

Similarly, in 2007, Cadden objected to any proposed FDA oversight,

explaining that NECC “dispenses compounded medications [only] upon

receipt of valid prescriptions.” Id. ¶ 91. 9 Finally, Conigliaro, in an October 1,

2004 letter to the FDA, described NECC as “a small-scale, family-run,

compounding-only pharmacy, not a manufacturer.” Id. ¶ 90.10 Although

Carter was not alleged to have ever communicated directly with state or

federal regulators, because of her position as NECC’s Director of Operations,

she was presumed to have been aware that NECC was using celebrity or

fictitious names11 (or names of prior patients) as placeholders to facilitate the

bulk shipment of compounded medications to hospitals and clinics.




      9 Cadden was acquitted of the Klein conspiracy count at his trial;
however, an acquittal of a coconspirator at an earlier trial has no preclusive
significance for his alleged coconspirators at a later trial. See, e.g., United
States v. Espinosa-Cerpa, 630 F.2d 328, 330-333 (5th Cir. 1980).

      10 While not dispositive, this single statement alleged against
Conigliaro was made well outside the statute of limitations at a time that
arguably preceded the onset of NECC’s transmutation into a high-volume
compounder.

      11Examples of obviously false patient names included “Wonder
Woman,” “Flash Gordon,” and “Filet O’Fish.” See United States v. Stepanets,
879 F.3d 367, 370 n.3 (1st Cir. 2018).
                                        7
      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 8 of 51



      Conigliaro, joined by the other defendants charged with the Klein

conspiracy, first sought to have Count 3 dismissed under Rule 12(b)(3). See

Mot. to Dismiss Count 3, Dkt ## 394, 395 (Nov. 13, 2015). He argued that

Count 3 failed to allege a violation of § 371 as a matter of law, failed to give

adequate notice of the nature of the offense, and that, as applied, § 371 was

void for vagueness. The court denied the motion, finding that the grand jury

had “more than adequately defined the purpose of the conspiracy: To induce

regulatory authorities, including the FDA, into believing that NECC was

doing business as a compounding pharmacy when in fact it was in the

business of manufacturing drugs.” See Mem. and Order, Dkt # 671, at 5

(Sept. 21, 2016). Because a motion to dismiss an indictment is rarely, if ever,

an appropriate vehicle to challenge the sufficiency of the underlying

evidence, and because the indictment tracked the language of the statute and

provided facts “specific enough to apprise the defendant of the nature of the

accusation against him,” United States v. Serino, 835 F.2d 924, 929 (1st Cir.

1987), no more was required to allow the prosecution to proceed. Cf. United

States v. Stepanets, 879 F.3d 370, 372 (1st Cir. 2018) (“[D]efinitely keep in

mind that a court must deny a motion to dismiss if the motion relies on

disputed facts.”).




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      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 9 of 51



      Seven months later, after the verdict in the Cadden trial, Conigliaro

(joined by Carter and Stepanets) filed a renewed Motion to Dismiss Count 3,

see Dkt ## 1013, 1014 (Apr. 14, 2017). In the renewed motion, Conigliaro

argued that the evidence offered and admitted at Cadden’s trial

“unequivocally establish[ed] that there [was] no discernible federal law

defining any clear distinction between a compounding pharmacy and a drug

manufacturer,” and it was thus “legally impossible for the FDA to be

defrauded in the manner the government alleged.” Dkt # 1014, at 1-2. In its

opposition to the motion, the government insisted that Conigliaro’s “legal

impossibility argument” was more accurately a factual one “that relies on

evidence to be presented to and assessed by a jury at trial.” See Gov’t’s Opp’n,

Dkt # 1032 at 8 (May 12, 2017). The government further noted that it could

“find no cases in the country, and indeed Conigliaro cites none, in which a

court has dismissed a Klein conspiracy based on a theory of pure legal

impossibility. This makes sense, since it is hard to imagine how conspiring

to defraud the government could be legally impossible.” Id. at 9.

      In its order of October 10, 2017, see Dkt # 1232, the court noted that,

despite the scholarly and judicial dissonance incited by the legal

impossibility doctrine, in the consensus view, “pure” legal impossibility is

recognized as an absolute defense. See, e.g., United States v. Fernandez, 722


                                       9
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 10 of 51



F.3d 1, 31 (1st Cir. 2013). Although, as Conigliaro argued, many facts were

not in dispute, without a fully developed record in the pending trial, the court

concluded that it was unable to determine whether Conigliaro (and his fellow

defendants) had successfully raised the defense in its pure (or perfect) form.

See Story Parchment Co. v. Paterson Parchment Paper Co., 282 U.S. 555,

566 (1931) (stating the general rule that where a “conclusion rested upon

inferences from facts within the exclusive province of the jury,” such a

conclusion may “not be drawn by the court . . . without usurping the

functions of that fact-finding body”). Nor, as the court noted, would it have

been fair to the government to rely solely on the evidence that the jury found

insufficient to convict in Cadden’s case, as it was possible that “the

government has some additional evidence of the FDA’s assessment of its

legal position with respect to its ability to regulate compounding pharmacies

like NECC that for some reason it chose to withhold in the Cadden trial.” See

October 10, 2017 Mem. and Order, at 9 n.6.

      At trial, Conigliaro renewed the motion to dismiss at the close of the

government’s opening statement, see Dkt # 1686 (Oct. 15, 2018), and again

after the government rested its case, see Dkt # 1779 (Dec. 3, 2018). After the

jury returned a guilty verdict, Conigliaro and Carter filed the instant post-

trial motions for acquittal with a supporting memorandum, see Dkt # 1819


                                      10
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 11 of 51



(Dec. 19, 2018) and Dkt # 1853 (Jan. 25, 2019). 12 The court requested

supplemental briefing on the issues of legal impossibility and due process

and heard oral argument on February 26, 2019.13

                                DISCUSSION

      In analyzing a Rule 29 motion, the court views the evidence in the light

most favorable to the verdict. See, e.g., United States v. Santos-Soto, 799

F.3d 49, 56-57 (1st Cir. 2015). A Rule 29 motion is granted sparingly and

only where “the evidence, viewed in the light most favorable to the

government, could not have persuaded any [reasonable] trier of fact of the

defendant’s guilt beyond a reasonable doubt.” United States v. Bristol-

Mártir, 570 F.3d 29, 38 (1st Cir. 2009). Pure issues of law seldom arise in



      12Both Carter and Conigliaro also seek, in the alternative, a new trial
pursuant to Federal Rule of Criminal Procedure 33, alleging various
prejudicial trial errors. Because the court will grant the motions for
judgment of acquittal, it deems the requests for a new trial moot.

      13   With respect to defendants’ alternative argument that
§ 371 is void for vagueness as applied in violation of the Due Process Clause,
as I noted in a previous order, “[l]ongstanding judicial interpretations of
§ 371 have made clear that the statute’s defraud clause constitutionally
proscribes efforts to thwart the operation and purpose of a government
program through deceit and trickery.” See Sept. 21, 2016 Mem. and Order,
at 9 n.5 (citing various cases, including Barker Steel, 985 F.2d at 1131).
However, to the extent that defendants’ void-for-vagueness challenge is
predicated on principles of notice and fair warning, I will discuss these issues
in the context of whether the alleged conspiracy was legally possible.

                                       11
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 12 of 51



the context of a Rule 29 motion, which is usually directed to the sufficiency

of the evidence. However, because the relevant test is whether the evidence

“permits a rational jury to find each essential element of the crime charged

beyond a reasonable doubt,” United States v. Olbres, 61 F.3d 967, 970 (1st

Cir. 1995), it follows that the government’s failure to satisfy its burden of

proof with respect to any element of the charged offense requires an

acquittal. A judgment of acquittal is also required, notwithstanding the

jury’s verdict, when the charged crime is a legal impossibility.          See

Fernandez, 722 F.3d at 31.

     A. Legal Impossibility

     The doctrine of legal impossibility as applied to inchoate crimes like

attempt and conspiracy “has received much scholarly attention, but remains

a murky area of the law.” United States v. Hsu, 155 F.3d 189, 199 (3d Cir.

1998); accord Commonwealth v. Bell, 67 Mass. App. Ct. 266, 266 (2006),

rev’d on other grounds, 455 Mass. 408 (2009) (“If sheer volume of literature

be the measure of fascination, then few subjects have been as intriguing for

criminal law scholars as the nexus between the doctrine of impossibility and

the crime of attempt.”). According to the author of an authoritative criminal

law treatise, this fascination “is not surprising, for the question of whether

we should punish a person who has attempted what was not possible under


                                     12
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 13 of 51



the surrounding circumstances requires careful consideration of many of the

fundamental notions concerning the theory and purposes of a system of

substantive criminal law.” 2 LaFave, Substantive Criminal Law § 11.5(a), at

791 (6th ed. 2017).

      The traditional solution to this conundrum is to draw a distinction

between legal and factual impossibility, which seems easy enough, but is

often difficult to apply in practice. Legal impossibility occurs “when the

actions which the defendant performs or sets in motion, even if fully carried

out as he desires, would not constitute a crime.”14 United States v. Oviedo,

525 F.2d 881, 883 (5th Cir. 1976). Legal impossibility mirrors the more

familiar principle of legality, under which no person is punishable by the

state unless his conduct is in violation of a positive law; this is true even if he

believes that he is committing a crime, and is doing his best to commit one. 15


       This statement of the doctrine is sometimes referred to as “pure legal
      14

impossibility” to distinguish it from so-called mixed fact/law impossibility.
See generally Ira P. Robbins, Attempting the Impossible: The Emerging
Consensus, 23 Harv. J. on Legis. 377, 390 (1986) (distinguishing among
“pure” legal impossibility, mixed law/fact impossibility, and factual
impossibility).

      15Professor Gerhard Mueller has identified three essential components
of the principle of legality:
      1. Nullum crimen sine lege: there must be a valid criminal law
      completely covering the conduct of the defendant;
      2. Nullum crimen sine poena: conduct cannot amount to a crime
      unless a punishment is provided; and
                                        13
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 14 of 51



Examples of pure legal impossibility might include smoking marijuana in

Massachusetts in the mistaken belief that the recreational use of marijuana

was illegal in the Commonwealth, or shooting at a stuffed deer outside of

deer hunting season, when in fact only real deer were protected and hunting

was allowed year round, see Hsu, 155 F.3d at 199 n.16. Although cases like

these are most often framed in the context of criminal attempts, “[o]bviously

a charge of conspiracy to shoot a deer,” in the hypothetical suggested above,

“would be equally untenable.” In re Sealed Case, 223 F.3d 775, 779 (D.C. Cir.

2000).

      Factual impossibility, by contrast, arises when an attempt is frustrated

by a physical circumstance of which the actor is unaware, the classical

example being the attempt to pick an empty pocket.            See People v.

Fiegelman, 33 Cal. App. 2d 100 (1939). Other frequently cited examples of

successfully prosecuted attempts in which factual impossibility furnished no

defense include the solicitation of sex from a female police officer posing as

an underage prostitute, In Re Doe (S.D.), 855 A.2d 1100 (D.C. 2004); the sale



      3. Nulla poena sine lege: the act must be proscribed prior to its
      performance.

Mueller, Criminal Theory: An Appraisal of Jerome Hall’s Studies in
Jurisprudence, 34 Ind. L.J. 206, 217-218 (1959).


                                     14
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 15 of 51



of a batch of fake methamphetamine touted as genuine to an undercover

agent, United States v. Sobrilski, 127 F.3d 669 (8th Cir. 1997); an attempt to

kill with a drink contaminated with what proved to be a subpotent poison,

Commonwealth v. Kennedy, 170 Mass. 18, 22 (1897) (Holmes, J.), or with a

gun that unbeknownst to the actor is unloaded, State v. Damms, 9 Wis.2d

183 (1960); and firing a deadly shot into a bed where the actor mistakenly

believed the intended victim was sleeping, State v. Mitchell, 170 Mo. 633

(1902).

      In cases of factual impossibility, “the defendant’s mental state was the

same as that of a person guilty of the completed crime” and he is considered

to be “deserving of conviction and is just as much in need of restraint and

corrective treatment as the defendant who did not meet with the

unanticipated events which barred successful completion of the crime.” 2

LaFave, Substantive Criminal Law § 11.5(a); see also United States v. Dixon,

449 F.3d 194, 202 (1st Cir. 2006) (“Recognizing that conduct falling short of

a completed criminal objective still may pose a real threat to social order, we

long have held that factual impossibility is not a defense to either liability or

sentencing enhancements for inchoate offenses such as conspiracy or

attempt.”).




                                       15
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 16 of 51



      In the case of legal impossibility, although a defendant might appear

worthy of punishment – after all, his mind is infected with a criminal mens

rea – the right of the state to impose punishment is constrained by the

principle of legality, the boundaries of which are defined by considerations

of due process, fundamental fairness, and just limits on the state’s

deployment of the coercive instruments at its disposal. See Kadish et al.,

Criminal Law and its Processes 152 (9th ed. 2012) (“Perhaps most obvious

[among the justifications for the legality principle] is the need to give

individuals fair warning as to the conduct that could subject them to

prosecution. Another is the need to control discretion of police, prosecutors,

and juries.   Reflecting these concerns, the legality principle bars both

retroactivity and vagueness.”) (emphasis in original); McBoyle v. United

States, 283 U.S. 25, 27 (1931) (Holmes, J.) (noting that fair warning should

apprise people “in language that the common world will understand, of what

the law intends to do if a certain line is passed”); see also United States v.

Lanier, 520 U.S. 259, 266 (1997) (“[D]ue process bars courts from applying

a novel construction of a criminal statute to conduct that neither the statute

nor any prior judicial decision has fairly disclosed to be within its scope.”). 16




       “What then shall we say? That the law is sin? By no means! Yet if it
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had not been for the law, I would not have known sin. For I would not have
                                       16
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 17 of 51



      For these reasons, it is an axiomatic principle of the criminal law that

wicked thoughts alone do not provide a basis for the infliction of punishment,

no matter how distasteful or worthy of opprobrium the thoughts might be.

See Kennedy, 170 Mass. at 21 (Holmes, J.) (noting that “the aim of the law is

not to punish sins”). The doctrine of legal impossibility allows for a perfect

defense in cases where suspect or even contemptible thoughts are

unaccompanied by positive steps towards the achievement of an end that

society has seen fit to criminalize. See, e.g., Graham Hughes, One Further

Footnote on Attempting the Impossible, 42 N.Y.U. L. Rev. 1005, 1022 (1967)

(“[A]n immoral motive to inflict some injury on one’s fellows coupled with a

misapprehension about the content of the criminal law are not good reasons

for conviction.”).

      If to this point it all seems so clear, why the doctrinal confusion? As

the Third Circuit has cogently explained, “the distinction between factual and

legal impossibility is essentially a matter of semantics, for every case of legal

impossibility can reasonably be characterized as a factual impossibility.”

United States v. Tykarsky, 446 F.3d 458, 465-466 (3d Cir. 2006). For that

reason, “most federal courts have repudiated the [factual-legal impossibility]



known what it is to covet if the law had not said, ‘You shall not covet.’” Book
of Romans 7:7.

                                       17
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 18 of 51



distinction or have at least openly questioned its usefulness.” United States

v. Farner, 251 F.3d 510, 512 (5th Cir. 2001) (collecting cases); but see

Fernandez, 722 F.3d at 31 (recognizing the “pure” legal impossibility

defense).

      To elaborate, take the stuffed deer example: In 1953, a Missouri court

concluded that a defendant could not be lawfully convicted of taking a deer

out of season when his cervine trophy proved to be a taxidermical

masterpiece for the simple reason that no law made the killing of a stuffed

deer a crime. In reaching its decision, the Missouri court focused on the

objective end-result of the defendant’s acts, rather than his a priori state of

mind. See State v. Guffey, 262 S.W.2d 152 (Mo. App. 1953). Some years

later, the Vermont Supreme Court on identical facts thought differently,

fixing on the defendant’s “specific intent to take a wild deer out of season,”

which was frustrated only by his mistake of an ersatz deer for an animate

object. See State v. Curtis, 157 Vt. 629 (1991).

      In the celebrated (by mavens of the law) case of People v. Jaffe, 185

N.Y. 497 (1906), the defendant attempted to purchase cloth that he (rightly)

believed to have been stolen from its original owner. But unbeknownst to

Jaffe, the cloth had been recovered, and the rightful owner had agreed to

allow police to use the goods to set a trap for Jaffe. The New York Court of


                                      18
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 19 of 51



Appeals vacated Jaffe’s conviction, holding that once the goods had lost their

stolen character, any attempt to receive them was a legal impossibility. Most

scholars would (rightly in my view) criticize the thinking behind the Court of

Appeals’s decision. Jaffe, after all, had done everything within his power to

complete the crime and came up short only because of an intervening factual

circumstance of which he was unaware. But no one can doubt that had Jaffe

succeeded he would have committed a real crime, one so rooted in the

common law 17 and the popular imagination that it had its own nineteenth-

century avatar in Dickens’s fictional character Fagin, Oliver Twist’s criminal

overlord.

      Being of the same mind, the authors of the Model Penal Code (MPC)

repudiated Jaffe in all but name and advocated the abolition of factual

impossibility as a defense. See ALI MPC § 5.01(1)(a) (1960) (an actor is guilty

of attempt where he “purposely engages in conduct which would constitute

the crime if the attendant physical circumstances were as he believes them

to be.”). The Jaffe approach, the draftsmen concluded:

      is unsound in that it seeks to evaluate a mental attitude – “intent"
      or “purpose” – not by looking to the actor’s mental frame of
      reference, but to a situation wholly at variance with the actor’s
      beliefs. In so doing, the courts exonerate defendants in
      situations where attempt liability most certainly should be

      17See Note, Receiving the Proceeds of Stolen Goods as a Criminal
Offense, 19 Colum. L. Rev. 229-233 (1919).
                                      19
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 20 of 51



      imposed. In all of these cases the actor’s criminal purpose has
      been clearly demonstrated; he went as far as he could in
      implementing that purpose; and, as a result, his “dangerousness”
      is plainly manifested.

MPC § 5.01, Comment at 308-309 (1985). Although many state (and some

federal) courts have followed the MPC’s teachings, the Code does not

question the legality principle, which remains well-embedded in the law. See

Kadish et al., Criminal Law and its Processes 646 (9th ed. 2012) (noting that

despite the competing approaches to legal impossibility, “[a]ll courts [have]

agreed that there [is] a defense of legal impossibility when, unknown to the

actor, what the actor planned to do ha[s] not been made criminal”).

      B. Key Principles and the Peculiar Nature of the Regulatory Context

      Several modern cases illustrate facets of the impossibility defense in a

way that is helpful to the resolution of this case. First, there is the classic

instance of legal impossibility where there is no statute criminalizing the

end-result envisioned by the actor. See Hsu, 155 F.3d at 199 n.16 (“For

example, a hunter cannot be convicted of attempting to shoot deer if the law

does not prohibit shooting deer in the first place.”). The First Circuit has

embraced the pure form of legal impossibility in several cases. An illustrative

example is United States v. Fernandez, 722 F.3d 1 (1st Cir. 2013). In that

case, the defendants were charged with violating the Travel Act, 18 U.S.C.

§ 1952, which as its name implies, prohibits interstate travel for purposes of

                                      20
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 21 of 51



committing a crime. While there was no doubt about the travel or the

defendants’ nefarious intent, the crime that the defendants had in mind, the

bribery of a Puerto Rican public official, had been fortuitously annulled by

the legislature two weeks before the defendants’ scheduled travel. On appeal,

the First Circuit vacated the defendants’ convictions. While in the eyes of the

Court there was no doubt that the defendants sincerely believed that what

they set out to do was criminal (bribing a public official), they had

unknowingly “conspire[d] to do something that [was not] prohibited by these

Puerto Rico bribery laws on the date they planned to do it.” Id. at 32.

      Second, the Courts of Appeals have not drawn a distinction between

cases where there is no statute prohibiting a defendant’s conduct and those

where the prosecution fails to meet its burden of demonstrating that the goal

of the alleged conspiracy violated some identifiable legal prohibition. Take,

as an example, United States v. Pierce, 224 F.3d 158 (2d Cir. 2000). In

Pierce, the government argued that the defendants – who were transporting

large quantities of alcohol across the St. Lawrence River into Canada though

a Mohawk Indian Reservation that spanned the border – were defrauding

the Canadian government by evading that country’s import duties and

taxes. The Second Circuit reversed defendants’ convictions because the




                                      21
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 22 of 51



government, somewhat unaccountably, failed to introduce evidence at trial

that Canada, in fact, taxed the import of alcohol. As the Court noted,

      [t]he Pierces were accused of ‘wronging’ the Canadian
      government, by tricking or deceiving it, not to obtain money from
      it, but to deprive it of its right to collect money in tax and duty
      revenue . . . . To prove the existence of a scheme to defraud the
      Canadian government the prosecution had to prove the existence
      of such a right.

Id. at 165 (internal citations omitted).

      Pierce is a modern analog to one of the most apocryphal hypotheticals

in the world of legal impossibility, namely the case of Lady Eldon’s French

Lace, presented by Dr. Wharton as follows:

      Lady Eldon, when traveling with her husband on the Continent,
      bought what she supposed to be a quantity of French lace, which
      she hid, concealing it from Lord Eldon in one of the pockets of
      the coach. The package was brought to light by a customs officer
      at Dover. The lace turned out to be an English manufactured
      article, of little value, and of course, not subject to duty. Lady
      Eldon had bought it at a price vastly above its value, believing it
      to be genuine, intending to smuggle it into England.

Wharton, 1 Criminal Law 304 n.9 (12th ed. 1932).

      Lady Eldon’s mental state and whether she could be convicted of an

attempt has fascinated generations of legal scholars. However, the crucial

distinction between Lady Eldon and Pierce is that in most iterations of the

hypothetical, the existence of British customs duties on French lace is never

questioned. The focus instead is on the relationship between Lady Eldon’s


                                       22
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 23 of 51



mens rea (knowingly or purposefully trying to violate a law) and the fact,

unbeknownst to her, that she had been cheated and was attempting to

conceal from customs inspectors a shoddy substitute for genuine French

lace. In a real case of Regina v. Eldon, the prosecutor would have had little

difficulty meeting his burden of showing that Lady Eldon had attempted to

violate an existing positive law.

      Third, the case law establishes that legal impossibility is a defense to a

§ 371 Klein conspiracy where the federal government or one of its constituent

agencies is not the intended victim of the planned fraud. In Tanner v. United

States, 483 U.S. 107 (1987), the defendants were alleged to have conspired

“to defraud the United States by impeding, impairing, obstructing and

defeating the lawful functions of the Rural Electrification Administration

(REA) in its administration and enforcement of its guaranteed loan

program.” Id. at 128-129, quoting the indictment.

      However, the actual target of the Tanner conspirators was a private

contractor, Seminole Electric Company, that had received some financial

assistance from the federal government in the form of a loan guaranteed by

the Rural Electrification Administration (REA), a credit agency of the

Department of Agriculture.          The loan was intended to help fund the

construction of a coal-fired power plant, but during the course of the


                                        23
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 24 of 51



construction, the defendant had allegedly exploited his personal relationship

with Seminole Electric’s procurement manager to win the award of a

subcontract to build some adjacent roads to the power plant in exchange for

kickbacks.

     The government argued that “because Seminole received financial

assistance and some supervision from the United States, a conspiracy to

defraud Seminole was itself a conspiracy ‘to defraud the United States.’” Id.

at 130 (emphasis in original).      The Supreme Court, through Justice

O’Connor, disagreed, holding that “[t]he conspiracies criminalized by § 371

are defined not only by the nature of the injury intended by the conspiracy,

and the method used to effectuate the conspiracy, but also – and most

importantly – by the target of the conspiracy.” Id. The Court further noted

that, even assuming that some portions of the legislative history of § 371

suggested it was intended to reach remote actors (like Seminole Electric)

“performing functions on behalf of the Federal Government,” id., – a

proposition the Court thought doubtful – “the Government has presented us

with nothing to overcome our rule that ‘ambiguity concerning the ambit of

criminal statutes should be resolved in favor of lenity.’” Id. at 131, quoting

Rewis v. United States, 401 U.S. 808, 812 (1971). It stands to reason that the

same analysis would apply where the victim of the alleged fraud is a state


                                     24
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 25 of 51



government, rather than a private entity, or one of its affiliated agencies (like

a Board of Pharmacy).

      A useful counterpoint to Tanner is Judge Woodlock’s opinion in

United States v. Morosco, 67 F. Supp. 3d 483 (D. Mass. 2014). In Morosco,

the defendant was charged with manipulating the evaluations of public

housing units in Chelsea, Massachusetts, that were subsidized by the United

States Department of Housing and Urban Development (HUD).                   The

defendants argued that because tinkering with HUD evaluations is nowhere

identified in the federal criminal code as a crime, they could not lawfully have

been convicted of defrauding HUD. Judge Woodlock rejected the argument,

noting that “[t]he defraud clause of the conspiracy statute does not require

the commission of a specific offense or the commission of any crime other

than the conspiracy itself,” id. at 488, a ruling later affirmed by the First

Circuit, see United States v. Morosco, 822 F.3d 1, 6-7 (1st Cir. 2016).

      What is crucial in Judge Woodlock’s decision is any absence of doubt

that the Chelsea Housing Authority (CHA) was subject to federal regulatory

oversight. In addition to the monitoring of its expenditures of federal funds,

the CHA was obligated to comply with HUD public housing regulations,

which were intended to ensure safe and sanitary conditions for the

inhabitants, and were enforced by regular inspections and compliance


                                       25
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 26 of 51



evaluations. The housing evaluations that the defendants were accused of

fraudulently manipulating were themselves conditions of the CHA’s

continued receipt of HUD funds.

      The government advances several arguments for why a legal

impossibility defense should not be recognized in this case, the most extreme

of which is the proposition that “as a legal matter, the defense of legal

impossibility does not apply to conspiring to defraud the United States.”

Gov’t’s Conigliaro Opp’n, Dkt # 1884, at 12. In this regard, the government

points to Judge Woodlock’s Morosco decision, suggesting that he “faced the

precise issue of whether legal impossibility applies to the defraud clause of §

371.” Id. at 8. I am not sure where this idea comes from. Morosco does say

that an illegal end (a conspiracy to defraud the United States) can be

achieved through means that in isolation would not constitute independent

crimes; it does not, however, hold that legal impossibility can never be a

defense to a § 371 indictment.

      A more solid argument advanced by the government is that “legal

impossibility is not a defense to conspiring to interfere with the lawful

functions of the government,” Gov’t. Mem. at 8, but this simply is another

way of saying that legal impossibility is not a defense when the object of the

conspiratorial agreement is to commit a crime. This circular formulation,


                                      26
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 27 of 51



begs the question of what exactly are the “lawful functions of government”

that are being violated. An arsonist who sets fires in a state forest and then

with the help of a friend provides false information to state park rangers in

an effort to obstruct the ensuing investigation would be entitled to raise a

legal impossibility defense if he were charged under § 371 with defrauding

the National Park Service. Similarly, fishermen plying a landlocked lake,

subject to state regulatory requirements, who ignore catch quotas and

restrictions, could raise a legal impossibility defense if charged with

defrauding the NOAA National Marine Fisheries Service.

      In these examples, it would make no difference how deviously the

defendants behaved or how successful they were in “deceiv[ing] the [federal

agencies] into thinking one thing . . . when another thing was in fact true,” as

the government argues Conigliaro and Carter did here, see Gov’t’s Carter

Opp’n, Dkt # 1885, at 16: if the National Park Service did not have regulatory

authority over state forests, or if NOAA did not regulate fishing on freshwater

lakes, these agencies would have had no official functions to be interfered

with and a § 371 conspiracy charge would be a legal nullity.

      Likewise, if the FDA, even if mistakenly, disavowed a legal right to

regulate compounding pharmacies like NECC, and if the evidence at trial

showed that the FDA abstained from regulating NECC as a result of its


                                      27
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 28 of 51



internal determination of its own jurisdiction, a legal impossibility defense

would plainly be available. This is not to fault the FDA: I recognize, as I will

explain in greater detail, that the dividing line between pharmaceutical

compounding and drug manufacturing had (prior to the NECC disaster)

never been drawn with any clarity by Congress, which largely explains the

confusion among state and federal regulators as to who was responsible for

what. That, in turn, created a regulatory lacuna in the borderland in which

NECC progressively came to operate. I described the hypotheticals above

only to illustrate what I find to be a crucial point: while a defendant may be

convicted of interfering with the lawful functions of a federal government

agency even where his conduct taken in isolation would be lawful, and

further, while it is not a requirement of conspiracy that the conspirators

actually succeed in achieving their goal, cf. United States v. Jimenez Recio,

537 U.S. 270, 274 (2003), the government must still show here that some

regulatory or investigative function of the FDA was compromised by the

conspirators’ actions.

      This latter point was effectively driven home by counsel for defendant

Sharon Carter at oral argument, to wit, another way to frame a legal

impossibility defense to a Klein conspiracy is on the proposition that the

government failed to meet its burden of proof on a required element of the


                                      28
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 29 of 51



crime – namely, that the “government functions” with which the

conspirators sought to interfere were in fact being exercised by the FDA.

While I am unaware of any precedential case in which such a defense has

proven effective, I can think of no reason why, on facts like those here, it

could not succeed. This conclusion is influenced by basic principles of lenity

and due process. Cf. Lanier, 520 U.S. at 267 (noting that the vagueness

doctrine, the canon of strict construction of criminal statutes – that is, the

rule of lenity – as well as fundamental notions of due process all require that

it be “reasonably clear at the relevant time that the defendant’s conduct was

criminal”).   Whether the defense should succeed, however, requires an

examination of the regulatory framework that governed compounding

pharmacies during the life of the alleged conspiracy.

      C. The Evidence in this Case on the Scope of the FDA’s Authority

      As recounted by the Supreme Court in Thompson v. Western States

Medical Center, 535 U.S. 357 (2002), the FDA’s involvement with the drug

compounding industry began with the passage of the FDCA in 1938. Section

505(a) of the FDCA provided that “[n]o person shall introduce or deliver for

introduction into interstate commerce any new drug, unless an approval of

an application filed [with the FDA] is effective with respect to such drug.”

“New drug” was defined as “[a]ny drug . . . not generally recognized, among


                                      29
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 30 of 51



experts qualified by scientific training and experience to evaluate the safety

and effectiveness of drugs, as safe and effective for use under the conditions

prescribed, recommended, or suggested in the labeling thereof.” Id. § 321(p).

As written, the Act appeared to adopt a bright-line permitting scheme: any

“new” drug had to secure FDA approval before it could be introduced into

interstate commerce.

     In practice, things did not prove so simple. As noted by the Supreme

Court, “[f]or approximately the first 50 years after the enactment of the

FDCA, the FDA generally left regulation of compounding to the States.”

Western States, 535 U.S. at 362. Even though compounded drugs would

often appear to fit within the FDA’s definition of a “new” drug, a work-

sharing agreement was struck under which the regulation of so-called

“traditional pharmacy compounding”18 was left to state boards of

pharmacies, while large-scale drug manufacturers were assigned to the

exclusive purview of the FDA. As the FDA’s Dr. Janet Woodcock testified,

“FDA has authority over all drugs in the United States; however, we didn’t

have any specific regulatory scheme for this traditional pharmacy


      18See, e.g., Professionals and Patients for Customized Care v. Shalala,
56 F.3d 592, 593 (5th Cir. 1995) (“Pharmacies have long engaged in the
practice of traditional compounding, the process whereby a pharmacist
combines ingredients pursuant to a physician’s prescription to create a
medication for an individual patient . . . .”).
                                     30
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 31 of 51



compounding. That was under the practice of pharmacy and under the state

boards of pharmacies.” See Trial Tr. Day 27 (Nov. 19, 2018) at 10.

     In 1992, concerned that “some pharmacists were manufacturing and

selling drugs under the guise of compounding, thereby avoiding the FDCA’s

new drug requirements,” Western States, 535 U.S. at 363, the FDA issued a

Compliance Policy Guide (CPG) to more clearly define its regulatory policy.

The 1992 CPG, which was not legally binding, announced that the “FDA may,

in the exercise of its enforcement discretion, initiate federal enforcement

actions . . . when the scope and nature of a pharmacy’s activities raises the

kinds of concerns normally associated with a manufacturer and . . . results in

significant violations of the new drug, adulteration, or misbranding

provisions of the Act.” Id. at 362, quoting the 1992 CPG. The 1992 CPG

iterated the FDA’s historical position of discretionary abstention from the

policing of prescription-based compounding pharmacies, as well as

pharmacies that compounded drugs without prescriptions in “very limited

quantities” for buyers with whom they could demonstrate an “established

professional practitioner-patient-pharmacy relationship.” Id. at 363.

     Congress responded to this evolving regulatory uncertainty by passing

the Food and Drug Modernization Act of 1997 (FDAMA), 21 U.S.C. § 353a

(often referred to as Section 503A), which codified aspects of the FDA’s 1992


                                     31
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 32 of 51



CPG. In its relevant parts, the FDAMA created a safe harbor for compounded

drugs, exempting them from the FDCA’s “new drug” requirements provided

that certain criteria were met, most pertinently, that they be compounded in

response to a valid prescription or only in limited non-prescription

quantities where an established relationship existed between the specific

pharmacist, patient, and prescribing physician. 21 U.S.C. § 353a(a). Other

provisions specified safety and quality standards for the ingredients of

compounded drugs, id. §§ 353a(b)(1)(A)-(B), prohibited the production of

what were essentially carbon copies of commercially available drug products,

id. § 353a(b)(1)(D), and added a provision forbidding pharmacies from

soliciting customers or “advertis[ing] or promot[ing] the compounding of

any particular drug, class of drug, or type of drug,” id. § 353a(c).

      The FDAMA, however, proved the genesis of an entirely new problem.

In Western States, the Supreme Court found that the FDAMA’s solicitation

and advertising prohibitions on drug compounders to be an unconstitutional

restriction on commercial speech. The Supreme Court did not, however, take

a position on whether the solicitation and speech restrictions were severable

from the rest of the FDAMA. Because the Ninth Circuit had previously held

that these provisions were not severable, and that the FDAMA in its entirety

was thus unconstitutional, see Western States Medical Center v. Shalala,


                                       32
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 33 of 51



238 F.3d 1090 (9th Cir. 2001), that ruling remained undisturbed by the

Supreme Court’s decision.

      In the void created by the Western States decisions, the FDA issued a

new CPG in 2002, noting that, as best its lawyers could determine, “all of [the

FDAMA] is now invalid.” 2002 CPG (Tr. Ex. 918); see also Trial Tr. Day 25,

at 67 (testimony of Samia Nasr). As one district court noted, the 2002 CPG

essentially reembraced the FDA’s 1992 guidance and “the FDAMA’s effusive

attitude towards traditional pharmacy compounding.” United States v.

Franck’s Lab, Inc., 816 F. Supp. 2d 1209, 1226 (M.D. Fla. 2011). While not

fully conceding that Western States had rendered compounded drugs

exempt from the “new drug” requirements of the FDCA, the 2002 CPG

emphasized that the FDA had chosen to focus its discretionary oversight on

large-scale drug manufacturers, while leaving the regulation of the smaller

compounding pharmacies to the states. 19


      19It is not that the FDA was oblivious to the transformation underway
in the drug compounding industry. As the 2002 CPG explained:

      FDA believes that an increasing number of establishments with
      retail pharmacy licenses are engaged in manufacturing and
      distributing unapproved new drugs for human use in a manner
      that is clearly outside the bounds of traditional pharmacy
      practice and that violates the Act. Such establishments and their
      activities are the focus of this guidance. Some “pharmacies” that
      have sought to find shelter under and expand the scope of the
      exemptions applicable to traditional retail pharmacies have
                                      33
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 34 of 51



      Muddying the waters further, in 2008, the Fifth Circuit parted

company with the Ninth Circuit on the issue of severability, concluding that

the provisions of the FDAMA that had not been explicitly invalidated by the

Supreme Court in Western States remained viable. See Medical Center

Pharmacy v. Mukasey, 536 F.3d 383 (5th Cir. 2008). The circuit split meant

that the statutory framework governing the compounding industry differed

from one part of the country to another. As noted by Dr. Woodcock in her

testimony before the United States Senate, “[a] look at FDA’s attempts to

address compounding over the past 20 years shows numerous approaches

that were derailed by constant challenges to the law. As a result, presently,

it is unclear where in the country section 503A is in effect.” Hearing Before




      claimed that their manufacturing and distribution practices are
      only the regular course of the practice of pharmacy. Yet, the
      practices of many of these entities seem far more consistent with
      those of drug manufacturers and wholesalers than with those of
      retail pharmacies. For example, some firms receive and use large
      quantities of bulk drug substances to manufacture large
      quantities of unapproved drug products in advance of receiving
      a valid prescription for them. Moreover, some firms sell to
      physicians and patients with whom they have only a remote
      professional relationship. Pharmacies engaged in activities
      analogous to manufacturing and distributing drugs for human
      use may be held to the same provisions of the Act as
      manufacturers.

Tr. Ex. 918 at 3.

                                     34
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 35 of 51



the Senate Committee on Health, Education, Labor, and Pensions, S. Hrg.

113-756, May 9, 2013, at 11 (Trial Ex. 1033). Because Congress did not step

in to address the muddled state of the law until 2013, after and in response

to the NECC tragedy, depending on their geographical location,

compounding pharmacies were either legally subject to the FDA’s

jurisdiction, 20 or were operating under the FDA’s non-binding CPGs.21

      The government draws a different conclusion from the legislative and

judicial history that is straightforward in its simplicity.

      [A]bsent the statutory safe harbor of FDAMA or the FDA’s
      enforcement discretion outlined in the [2002] CPG,
      compounding pharmacies would be subject to the drug approval,
      manufacturing, and inspection provisions of the FDCA.
      Applying the legal framework to this case and Conigliaro’s
      conviction, NECC was making new drugs, as defined in the
      FDCA, and was subject to the jurisdiction of the FDA. Thus,


       FDA jurisdiction was, however, mostly a legal formality given the
      20

FDA’s 2002 determination that the entire FDAMA was invalid.

      21Intervening lower federal court decisions took note of the state of
uncertainty. See, e.g., Cruz v. Preferred Homecare, 2014 WL 4699531, at *3
(D. Nev. Sept. 22, 2014) (noting that, because the Ninth Circuit’s ruling on
non-severability remained in place following Western States, and because
Congress did not pass a new statute until 2013, “between 2002 and
November 2013, there was no federal statute in effect that expressly provided
for the FDA to regulate compounding pharmacies”); Franck’s Lab, 816 F.
Supp. 2d at 1248 (“Though it certainly has the statutory authority to do so,
the FDA has chosen not to draw the line between manufacturing and
traditional compounding with formal regulations. Nor has it sought to
distinguish traditional pharmacy compounding from pharmacists who are
manufacturing under the guise of compounding.”).

                                       35
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 36 of 51



      because NECC was (undisputedly) not following the FDCA’s new
      drug requirements, the question of whether NECC was legally
      making drugs was whether NECC met the safe harbor factors
      outlined in FDAMA and the 2002 CPG, that is, compounding
      drugs in response to patient specific prescriptions. If it was not
      doing so, it was not legally making drugs.

See Gov’t’s Opp’n, at 7.

      The difficulty with the government’s position lies in the fact that, apart

from the Supreme Court’s intervention in Western States, the most

significant actor rejected it: the FDA itself.      In internal memoranda,

testimony by senior FDA officials before various House and Senate

committees as part of Congress’s investigation into the fungal meningitis

outbreak,22 in court testimony and exhibits offered at the trial of this matter,

the picture emerges of an agency struggling to make sense of a statutory

regime that Congress had not updated since 1938 and that had been

overwhelmed by the rapidity of the advances in modern medicine and

pharma. Moreover, the FDA was under considerable pressure as a result of

the restructuring of the drug industry itself. Over the years, for reasons of

patent expirations and profits, traditional drug manufacturers had largely

discontinued the production of a number of generics and specialty drugs,

creating a demand vacuum that compounding pharmacies like NECC


      22The FDA testimony cited in this decision was played to the jury in
videotaped form or read into the record at trial, unless otherwise noted.
                                      36
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 37 of 51



stepped in to fill. The FDA recognized that an overly robust enforcement

posture on its part towards compounders could jeopardize hospitals’ and

clinics’ supplies of potentially life-saving medications.

      The evidence at trial reinforced the notion that entities like NECC did

not fit neatly into the compounding-manufacturing dichotomy that had

historically influenced the FDA’s enforcement strategy. Dr. Woodcock noted

in her Senate testimony, the FDA had “long recognized . . . the value of

pharmacy compounding and the way it can tailor medications to different

unmet medical needs,” but “this industry has changed and grown up, so this

is a new type of practice that has evolved. And it raises the stakes on risk,

because they’re doing large-scale, sterile processing of drugs.” Trial Ex. 1033

at 22. She also testified that while “presently, there are hundreds of other

firms [besides NECC] operating as compounding pharmacies . . . the current

legal framework does not provide FDA with the tools needed to identify and

adequately regulate these pharmacies to prevent product contamination.”

Trial Tr. Day 27, at 73-74.

      Because some states allowed anticipatory compounding – that is, the

production of compounded drugs for use as office stock before hospitals and

clinics could know the identities of the patients who would be served – the

FDA was unable under Congressional questioning to articulate a clear line


                                      37
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 38 of 51



between compounding and drug manufacturing. The following is culled

from several exchanges involving then FDA Commissioner Margaret

Hamburg, Dr. Woodcock, and members of Congress.

     MR. BURGESS: You define manufacturers. Someone is making
     30,000 vials of stuff a month, is that a manufacturer?

     DR. WOODCOCK: Well, say, if I am Janet the pharmacist, all
     right, and I have a pharmacy that is licensed in a State, right, and
     I am compounding drugs, right, and then I decide, well, I want to
     broaden my activities, and my State allows the anticipatory
     compounding and my State allows office stock, right, so I can
     compound those in advance of or without a prescription and send
     them. And there is no –

     MR. BURGESS: 30,000 vials a month?

     DR. WOODCOCK: There is no — what is the number? That is the
     thing we have been struggling with for 12 years. Is it 10 vials? Is
     it 1,000 vials . . . . There is no volume limit in the statute.

Testimony Before the House Subcommittee on Oversight and Investigations,

Committee on Energy and Commerce, May 23, 2013, at 28.

     MRS. ELMERS: OK. Now let me ask this question. The number
     and how much a pharmacy is making seems to be the issue of
     where it falls, what jurisdiction. In your own words, where do
     you, where would you see that line of action? What do you see,
     how much product can a compounder make without being
     designated a manufacturer?

     DR. WOODCOCK: That is what we have been struggling with
     since the 503 was passed, OK, there is no line in there in the
     statute. And so what is an inordinate quantity? We don’t know.
     Is it 10 units? Is it 1,000 units? Is it 17,000 units? So we have
     endeavored to use other criteria to say, OK, when you would be
     subject to Federal jurisdiction.

                                     38
      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 39 of 51



Id. at 43-44.

      MR. GREEN: What is the FDA’s position on office-use
      compounding pursuant to State law where it occurs? Under the
      current federal law, FDCA, and under the legislation being
      considered in the Senate?

      DR. WOODCOCK: Well, right now under current Federal law it
      is blurry, all right, as far as how much you could make. You all
      are saying to me that you think you can tell what a manufacturer
      is, but there is no bright line in the statute that says when you
      cross that line and become a manufacturer.

Id. at 37.

      MS. CASTOR: I don’t think that it is overly complex. I think
      there’s a difference in outlook here on whether you have certain
      authority. And I think it’s clear under the 1997 law and these
      court cases that compounders were exempted and are not
      manufacturers. So, we – the Congress, has a responsibility now
      to act and clarify it. And there’s got to be additional oversight of
      the states. If the states – if they’re going to drop the ball and
      they’re not – they’re going – they’re not going to provide proper
      oversight, then it’s time for the feds to step in and give FDA the
      tools it needs to prevent these tragedies from ever happening
      again.

      DR. HAMBURG: I don’t know if I’m allowed to make a comment,
      but I think, you know, that speaking to the complexity of the issue
      and the changing, evolving industry overlaid on top of a
      fragmented and ambiguous legal framework, it is important to
      understand that this notion of sort of black and white,
      compounder or manufacturer, you know, it just is trying to fit a
      square peg into a round hole.

Testimony Before the House of Representatives Subcommittee on Oversight

and Investigations, Committee on Energy and Commerce, Nov. 14, 2012, at

87.

                                      39
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 40 of 51



      As aptly summarized by Dr. Woodcock in her 2013 Senate testimony,

“[t]he current legal framework is the wrong fit for this industry, which has

evolved and grown tremendously over the past 12 years and really wouldn't

be recognizable to a traditional pharmacist of, say, 25 years ago.” Trial Ex.

1033 at 7.     As a consequence, “FDA’s ability to take action against

compounding      that   exceeds    the    bounds   of   traditional   pharmacy

compounding and poses risks to patients has been hampered by limitations

and ambiguities in the law, which have led to legal challenges to FDA’s

authority to inspect pharmacies and take appropriate enforcement actions.”

Id. at 9. Internally, in response to the Middle District of Florida’s decision in

the Franck’s Lab case, an FDA Memorandum titled “Rationale for 503A

Policy and Regulatory Strategy” (Oct. 14, 2011) observed:

      The recent District Court opinion regarding United States vs.
      Franck’s Lab Inc. recognized that “though [FDA] has the
      statutory authority to do so, the FDA has chosen not to draw the
      line between manufacturing and traditional compounding with
      formal regulations.” This lack of notice to industry of the
      regulatory distinction between compounding and manufacturing
      has created a difficult regulatory environment which has led to
      uncertainty in enforcement and has provided no clear guidance
      to the industry.

See Dkt # 1570-1, at 41 (Pretrial Evidentiary Stipulation).

      The reservations expressed by the FDA, internally and in public, were

not a product of timidity. The FDA had good reasons for its hesitancy beyond


                                         40
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 41 of 51



the lack of clear statutory guidance from Congress. High-volume

anticipatory compounding centers like NECC filled a void created by the

many hospitals that had shuttered their in-house pharmacies for reasons of

convenience (many of the more sophisticated drugs were difficult to produce

in-house), or because of insurance costs and the fear of liability. Again, as

noted by Dr. Woodcock, “hospitals have come to rely on compounding

pharmacies that function as ‘outsourcers’ producing sterile drugs previously

made by hospital in-house pharmacies.” Trial Ex. 1033, at 10. And, as

previously observed, large-scale drug manufacturers were for similar

reasons leaving the business of high-risk anticipatory drug compounding.

See Trial Tr. Day 27, at 22-23 (Nov. 19, 2018) (testimony of Janet Woodcock)

(“[A] need had grown up that didn’t exist before, and the major – the large

manufacturers were not following that need, that void, for those outpatient

clinics or in-and-out surgery and so forth.”).

      Because the newer model compounding pharmacies were “supply[ing]

large numbers of sterile drugs produced in relatively large quantities to

hospitals nationwide,” the FDA legitimately feared that enforcing a

requirement from a 1938 statute that compounders receive FDA approval for

each new, compounded medication prior to its being shipped, would likely

“cause disruptions in the supply of drugs to hospitals and other health care


                                      41
      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 42 of 51



providers.” Trial Ex. 1033; see also Trial Tr. Day 27 (Nov. 19, 2018), at 102

(“[W]e would have created . . . patient harm by suddenly cutting this off, by

bringing it to a stop. And that’s why we were advocating, and much of the

[congressional testimony] clips that were shown here [at trial] were in the

context of us saying, No, we need a better framework.”); FDA Mem. of

October 14, 2011, Dkt # 1570-1, at 41 (Pretrial Evidentiary Stipulation) (“The

compounding industry is growing. Studies estimate that less than 1% of all

prescriptions were compounded in the 1970s, and was expected to grow to

10% by 2010. Drug shortages of commercially available drug products are

increasing and as a result the demand for similar compounding products has

also risen.”).

      These ambiguities extended to the FDA’s direct dealings with NECC

itself. In pre-outbreak inspections of NECC, the FDA labeled the company

as either a “pharmacy” or “compounding pharmacy,” but never as a drug

manufacturer. The FDA also consistently took the position that regulatory

jurisdiction over NECC fell to MABOP. For instance, when the Colorado

Board of Pharmacy notified the FDA that NECC was shipping drugs in bulk

quantities across state lines, see Trial Ex. GX 701, the FDA’s response was to

refer the Colorado Board to its counterparts at MABOP.




                                     42
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 43 of 51



      This is not to place undeserved blame on the FDA for the NECC

debacle. As Dr. Woodcock noted, in hindsight, the FDA “should have been

more aggressive in applying our existing authorities to this industry, in spite

of the ambiguous statute and multiple challenges by industry.” Trial Ex.

1033, at 7. But to have done so would have risked compromising the supply

of much needed drugs to hospitals that had few other avenues for procuring

them. Moreover, after the Western States decisions and what Dr. Hamburg

described as the resulting “disconnect between different legal requirements

in different parts of the country,” Testimony Before the House of

Representatives Subcommittee on Oversight and Investigations, Committee

on Energy and Commerce, Nov. 14, 2012, adoption by the FDA of a nationally

uniform enforcement policy with respect to compounding pharmacies would

have been the legal equivalent of threading a needle without an eye. To

summarize, the FDA’s “authority over compounding [was] limited, unclear,

and contested,” id., as the FDA had long recognized.23


      23   As stated by Dr. Woodcock in her testimony at trial:

      Q: You do know that there was lots of internal debates within the
      FDA about authority, though, right?
      A: Yes.
      Q: And those internal debates lasted years, didn’t they?
      A: Yes.

                                       43
      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 44 of 51



      The FDA admirably admitted in the aftermath of the outbreak that it

could have done more, but it did not believe that Congress had given it the

appropriate statutory tools to do so. Certain members of Congress were

equally frank in retrospect about having dropped the ball. Trial Ex. 1033, at

18 (statement of Senator Warren) (“I just want to say I think it’s

unconscionable that we have failed to regulate this industry for so long and

put the public at risk.”); Testimony Before the House of Representatives

Subcommittee on Oversight and Investigations, Committee on Energy and

Commerce, Nov. 14, 2012, at 87 (statement of Representative Castor) (“We

– the Congress – has a responsibility now to act and clarify it

. . . . If the states – if they’re going to drop the ball and they’re not . . . going

to provide proper oversight, then it’s time for the feds to step in and give FDA

the tools it needs to prevent these tragedies from ever happening again.”).

      Be that as it may, whatever the efforts that were finally undertaken to

fix federal law as applied to compounding, the evidence plainly shows that

during the life of the charged conspiracy, the FDA was not, and did not

believe that it should be, in the business of regulating companies like NECC


      Q: Decades?
      A: Perhaps decades.
See Trial Tr. Day 27 at 52.


                                         44
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 45 of 51



that were engaged in anticipatory pharmacy compounding.          Thus, the

bottom line: during the critical times, these defendants (and NECC) could

not have defrauded the FDA by interfering with the relevant regulatory

functions because there were none to speak of.

     D. The Government’s Response

     The government does not contest that there was internal disagreement

at FDA over whether (and how) to regulate entities like NECC.            The

government’s response rather is an argument based on its reading of the

FDCA: because NECC was making “new drugs” as defined by the statute, the

failure of the FDA to exercise regulatory authority over NECC is immaterial

to whether it could have done so. As the government phrases it, “[t]he lack

of a statute or clear regulation by which the FDA defined compounding

pharmacies and manufacturers is irrelevant to the fraud perpetrated by

Conigliaro and his co-conspirators by lying to the FDA and the MABOP about

NECC’s true activities in order to try to conceal them.” Gov’t’s Conigliaro

Opp’n at 10.

     This argument – that what the FDA thought and did was irrelevant –

is typified by the following exchange between the government and Dr.

Woodcock on direct examination at trial:

     Q: Was there anything under federal law that allowed for drugs
     to be compounded and shipped without prescriptions?

                                    45
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 46 of 51




      A: No.

      Q: So back in 2012, for purposes of federal law, were there only
      two categories in which a drug maker could fall into?

      A: That's correct. There was compounding, and that was the
      individual prescription, and then there was drug manufacturing,
      which was everything else.

      ***

      Q: But for federal purposes, if you were compounding drugs
      without a prescription, you’d fall under that manufacturing one?

      A: That's correct.

See Trial Tr. Day 27 at 16-18.

      This may well be true, but the exchange illustrates the government’s

worrisome position that, in this context, what is not affirmatively permitted

by the law is criminally prohibited. Is it really the case that a lawyer’s parsing

of the hypothetical jurisdiction that the FDA might have asserted over “new”

drugs, based on a 1938 statute, standing alone – and irrespective of the

contrary positions since taken by the FDA itself – an adequate basis for a

§ 371 conspiracy indictment? Ultimately, resting criminal liability on such a

shaky foundation raises legitimate concerns of constitutional due process

and fair notice. It is a fundamental principle that the criminal law should

give reasonably clear direction to those it might otherwise ensnare as to how

they can avoid criminal liability.

                                       46
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 47 of 51



     E. Due Process and Notice

     At least one district court has rejected the argument, albeit in the

slightly different context of compounding animal drugs, that the statutory

authority given to the FDA to regulate “new drugs” can be an adequate basis

for liability even when the agency has taken the opposite view in its

enforcement history and public pronouncements.          As noted by Judge

Corrigan, “[t]he FDA cannot simply upset the expectations it helped to create

through decades of inaction without explanation, especially where its

asserted expansion of authority impacts the federal-state balance and

potentially subjects many individuals and companies to criminal liability.

This conclusion is supported by both the plain statement rule and the rule of

lenity.” Franck’s Lab, 816 F. Supp. 2d at 1253-1254 (footnote omitted).24

     I find Judge Corrigan’s reasoning especially persuasive in this respect:

because the FDA is the purported victim of the alleged Klein conspiracy,

extending the FDA’s regulatory power to entities that it had not heretofore




     24 The Eleventh Circuit ultimately vacated the decision in Franck’s Lab,

pursuant to a joint motion of the parties to dismiss the appeal and vacate the
district court’s ruling. See United States v. Franck’s Lab, 2012 WL 10234948
(11th Cir. Oct. 18, 2012). The court is not relying on Franck’s Lab for its
precedential force (which would be limited in any event as an out-of-circuit
district court opinion), but rather for its persuasive discussion of various
points germane to this case, especially with respect to the relationship
between the FDA’s prior enforcement history and the rule of lenity.
                                     47
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 48 of 51



seen fit to regulate raises legitimate concerns of lenity and due process. In

McBoyle, Justice Holmes wrote that “[a]lthough it is not likely that a

criminal will carefully consider the text of the law before he murders or

steals, it is reasonable that a fair warning should be given to the world in

language that the common world will understand, of what the law intends to

do if a certain line is passed.” 283 U.S. at 27. This sentiment has been

iterated on numerous occasions by the Supreme Court and the First Circuit.

See, e.g., United States v. Harriss, 347 U.S. 612, 617 (1954) (“The underlying

principle is that no man shall be held criminally responsible for conduct

which he could not reasonably understand to be proscribed.”); United States

v. Hussein, 351 F.3d 9, 13 (1st Cir. 2003) (“The criminal law should not be a

series of traps for the unwary. To that end, the Due Process Clause demands

that criminal statutes describe each particular offense with sufficient

definiteness to ‘give a person of ordinary intelligence fair notice that his

contemplated conduct is forbidden.’”), quoting Harriss, 347 U.S. at 617.

     As the Supreme Court explained in Lanier, the fair warning

requirement has at least three constituent parts:

     First, the vagueness doctrine bars enforcement of “a statute
     which either forbids or requires the doing of an act in terms so
     vague that men of common intelligence must necessarily guess
     at its meaning and differ as to its application.’’ . . . Second, as a
     sort of ‘‘junior version of the vagueness doctrine,’’ the canon of
     strict construction of criminal statutes, or rule of lenity, ensures

                                      48
      Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 49 of 51



      fair warning by so resolving ambiguity in a criminal statute as to
      apply it only to conduct clearly covered. Third, although clarity
      at the requisite level may be supplied by judicial gloss on an
      otherwise uncertain statute, due process bars courts from
      applying a novel construction of a criminal statute to conduct
      that neither the statute nor any prior judicial decision has fairly
      disclosed to be within its scope. In each of these guises, the
      touchstone is whether the statute, either standing alone or as
      construed, made it reasonably clear at the relevant time that the
      defendant’s conduct was criminal.

520 U.S. at 1225 (internal quotations and citations omitted). Each of these

principles is implicated here. Because the FDA did not believe it had the

statutory authority to regulate these new forms of pharmacy compounders,

people “of common intelligence” in the industry were left to guess as to the

FDA’s future enforcement policies. Previous judicial decisions had not

“fairly disclosed” to the industry that the FDA was poised to insert itself as a

hands-on overseer of compounding pharmacies; to the contrary, the few

cases that had been decided mostly pointed in the opposite direction. And

finally, even if the argument could be made that the FDA had never

affirmatively and publicly renounced its residual authority to regulate

compounders, the contradictory nature of the public pronouncements it did

make on the subject would justify application of the tie-breaking rule of

lenity.

      “[T]he touchstone of the rule of lenity is statutory ambiguity,” Bifulco

v. United States, 447 U.S. 381, 387 (1980), and attempts to extend the rule

                                      49
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 50 of 51



of lenity beyond the context of ambiguous criminal statutes have generally

not fared well in the Courts of Appeals, see, e.g., United States v. Gonzalez,

407 F.3d 118, 124 (2d Cir. 2005) (joining a sister circuit “in holding that the

rule of lenity is not applicable to a district court’s fact-finding role at

sentencing”). Yet the basic principle that a criminal sanction must follow a

clear and positive legal prohibition, so that defendants “are not punished for

violating an unknowable something,” Screws v. United States, 325 U.S. 91,

105 (1945) – has been applied by the Supreme Court before in the context of

determining the scope of an alleged Klein conspiracy, see Tanner, 483 U.S.

at 131, and is simply is too well-established and too important to ignore here.

See Raley v. State of Ohio, 360 U.S. 423, 438 (1959) (“Inexplicably

contradictory commands in statutes ordaining criminal penalties have, in the

same fashion, judicially been denied the force of criminal sanctions.”);

United States v. Wilson, 159 F.3d 280, 289 (7th Cir. 1998) (Posner, C.J.,

dissenting) (“The purpose of criminal laws is to bring about compliance with

desired norms of behavior. . . .This purpose is ill served by keeping the law a

secret . . . .”). This is all the truer when bad things have happened and the

thirst for accountability is most acutely felt.




                                       50
     Case 1:14-cr-10363-RGS Document 2067 Filed 06/07/19 Page 51 of 51



                             CONCLUSION

     For the foregoing reasons, the Motions of Sharon Carter and Gregory

Conigliaro for Judgments of Acquittal are ALLOWED. The Clerk will enter

the judgments accordingly and discharge the defendants.

                                  SO ORDERED.
                                  /s/ Richard G. Stearns
                                  UNITED STATES DISTRICT JUDGE




                                    51
